          Case 1:25-cv-00322-JDB        Document 23   Filed 02/21/25    Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 Doctors for America, et al.,

                                Plaintiffs,

          v.                                   Case No. 1:25-cv-00322-JDB

 Office of Personnel Management, et al.,

                                Defendants.


                                  JOINT STATUS REPORT

    Pursuant to the Court’s order of February 14, 2025, the parties submit this joint status

report.

    1. On February 11, 2025, this Court entered a Temporary Restraining Order, ECF 11,

requiring Defendants to “by not later than 11:59 pm on February 11, 2025, restore to their

versions as of January 30, 2025, each webpage and dataset identified by Plaintiff on pages

6–12 of its Memorandum of Law in Support of the Motion for a Restraining Order” and

“in consultation with Plaintiff [Doctors for America (DFA)], identify any other resources

that DFA members rely on to provide medical care and that defendants removed or
substantially modified on or after January 29, 2025, without adequate notice or reasoned

explanation; and defendants shall, by February 14, 2025, restore those resources to their

versions as of January 30, 2025.”

    2. In compliance with paragraph 2 of the Temporary Restraining Order, Defendants

have restored the “resources” identified by DFA as of February 14, 2025.

    3. On February 18, 2025, Plaintiffs filed a First Amended Complaint, ECF No. 20,

adding the City and County of San Francisco as an additional plaintiff and alleging three

causes of action under the Administrative Procedure Act (APA) against the Office of
         Case 1:25-cv-00322-JDB         Document 23      Filed 02/21/25   Page 2 of 4




Personnel Management, the Department of Health and Human Services, and nine agency

components of HHS.

    4. The Temporary Restraining Order will expire on February 25, 2025. See Fed. R.

Civ. P. 65(b).

    5. The parties have conferred about a schedule for additional proceedings in this case

but have not been able to agree. They offer their respective positions below.

    6. Should it be helpful to the Court, the parties are both available for a telephonic

scheduling conference on Monday, February 24, 2025, from 11:00 a.m. to 3:00 p.m.



Plaintiffs’ Position on Future Proceedings

         Plaintiffs have alleged both that the removal of a specific list of webpages is

unlawful, and that the policy underlying the removals is unlawful and should be set

aside.

         To allow time for further briefing and decision, Plaintiffs request that the Court

extend the Temporary Restraining Order until resolution of a preliminary injunction or

dispositive motions, or, in the alternative, that the Court convert its Temporary

Restraining Order into a preliminary injunction.

         In addition, because the relief granted by the Temporary Restraining Order does

not reach every removed resource at issue, and an order declaring Defendants’ policies

unlawful will provide relief beyond that granted by the Temporary Restraining Order,

Plaintiffs seek to proceed with the case on an expedited basis. Plaintiffs propose that the

Court enter the following schedule:

                Defendants produce the administrative record by Friday, February 28, 2025;

                Plaintiffs file a joint motion for preliminary injunction and summary

                 judgment by Friday, March 7, 2025;

                Defendants file a response by Friday, March 14, 2025;

                Plaintiffs file a reply by Friday, March 21, 2025.


                                                2
       Case 1:25-cv-00322-JDB       Document 23      Filed 02/21/25    Page 3 of 4




       Plaintiffs have reviewed Defendants’ proposal and oppose it. That proposal asks

the Court to delay further proceedings in this case while Defendants consider whether

they agree with a subset of Plaintiffs’ claims and whether to maintain—or again

remove—the subset of pages restored as directed by the Temporary Restraining Order.

Defendants’ proposal thus would not meaningfully advance this case toward resolution.



Defendants’ Position

    In Counts II and III of the First Amended Complaint, Plaintiffs contend that the

removal of certain public websites on or about January 31, 2025, was not in accordance

with the Paperwork Reduction Act, the Information Quality Act, or Title III of the

Foundations of Evidence-Based Policymaking Act of 2018. See ECF No. 20, at ¶¶ 1, 19-

32, 66-74.

    Defendants have begun a review to determine the applicability of the Paperwork

Reduction Act, the Information Quality Act, and Title III of the Foundations of

Evidence-Based Policymaking Act of 2018 for each website and dataset subject to

paragraphs 1 and 2 of the Temporary Restraining Order, as well as the additional

websites specifically identified in the First Amended Complaint. See ECF No. 20, at ¶¶

37-44. To the extent Defendants determine that the Paperwork Reduction Act, the

Information Quality Act, or Title III of the Foundations of Evidence-Based

Policymaking Act of 2018 applies to a particular website, Defendants will take the steps

necessary to comply therewith when implementing Executive Order 14168, 90 Fed. Reg.

8615 (Jan. 20, 2025).

    After the Temporary Restraining Order expires on February 25, 2025, Defendants

will maintain, in its current state, any website and dataset subject to paragraphs 1 and 2

of the Temporary Restraining Order, as well as any additional websites specifically

identified in paragraphs 37-44 of the First Amended Complaint, pending Defendants’


                                            3
       Case 1:25-cv-00322-JDB        Document 23        Filed 02/21/25     Page 4 of 4




review of that particular website or dataset. Defendants will review each website and

dataset on a rolling basis. Once a website or dataset has been reviewed, Defendants will

promptly take the necessary measures to comply with the Paperwork Reduction Act,

the Information Quality Act, or Title III of the Foundations of Evidence-Based

Policymaking Act of 2018, if Defendants determine such statutes apply to a particular

website or dataset, while implementing Executive Order 14168. Defendants will

implement these measures and Executive Order 14168, including by modifying or

removing a website or dataset as may be necessary, on a rolling basis.

    Defendants will file a status report on or before March 21, 2025, addressing the

progress of their review. That date is still well before Defendants’ response to the First

Amended Complaint is due on April 8, 2025.

     This voluntary review process “will allow [Defendants] to cure [any] mistakes and

will avoid wasting the Court’s and the parties’ resources reviewing a record that” is

“incomplete.” Vanda Pharms., Inc. v. FDA, No. CV 19-301 (JDB), 2019 WL 1198703, at *2

(D.D.C. Mar. 14, 2019). Furthermore, it obviates any need for the rushed summary

judgment briefing that Plaintiffs propose.



 February 21, 2025                               Respectfully submitted,

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                                             4
